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February 27, 2021



                                JAMES E. MALACKOWSKI
                                  CURRICULUM VITAE
James E. Malackowski is the Co-Founder and Chief Executive Officer of Ocean Tomo, LLC, the
Intellectual Capital Merchant Banc™ firm providing industry leading financial products and services
related to intellectual property including financial expert testimony, valuation, strategy consulting, patent
analytics, investment management and transaction brokerage. Ocean Tomo assists clients – corporations,
law firms, governments and institutional investors – in realizing Intellectual Capital Equity® value broadly
defined. Subsidiaries of Ocean Tomo include Ocean Tomo Investments Group, LLC, a registered broker
dealer, and Ocean Tomo International (HK) Ltd.

Mr. Malackowski is a founding and continuous member of the IP Hall of Fame Academy. He has been
recognized annually since 2007 by leading industry publications as one of the ‘World’s Leading IP
Strategists’. Significantly, Mr. Malackowski is listed among “50 Under 45” by IP Law & Business™;
included in the National Law Journal’s inaugural list of 50 Intellectual Property Trailblazers & Pioneers;
and, named as one of “The Most Influential People in IP” by Managing Intellectual Property™. Mr.
Malackowski was named as1 of 50 individuals, companies and institutions that framed the first 50 issues of
IAM Magazine as well as 1 of 60 leading global Economics Expert Witnesses by the same publication in
2014. In 2011 Mr. Malackowski was selected by the World Economic Forum as one of less than twenty
members of the Network of Global Agenda Councils to focus on questions of IP policy. In 2013 he was
inducted into the Chicago Area Entrepreneurship Hall of Fame by the Institute for Entrepreneurial Studies
at the University of Illinois at Chicago College of Business Administration. In 2018, Mr. Malackowski
joined the Standards Development Organization Board of the Licensing Executives Society (USA &
Canada), Inc. governing voluntary consensus-based professional practices that are guided in their
development by the American National Standards Institute's (ANSI's) Essential Requirements. LES
standards are designed to encourage and teach consensus practices in many of the business process aspects
of intellectual capital management.

On more than fifty occasions, Mr. Malackowski has served as an expert in U.S. Federal Court, U.S.
Bankruptcy Court, State Court, Court of Chancery, the Ontario Superior Court of Justice and global
arbitrations on questions relating to intellectual property economics including the subject of valuation,
reasonable royalty, lost profits, price erosion, commercial success, corrective advertising, creditor
allocations, Hatch Waxman Act market exclusivity, business significance of licensing terms including
RAND obligations, venture financing including expected risk / return, and equities of a potential injunction.
Mr. Malackowski’s experience extends to matters of general business valuation and commercial disputes,
both domestic and foreign. Mr. Malackowski has publicly addressed policy issues affecting international
trade and has provided expert opinions concerning antidumping and countervailing duties imposed by the
U.S. Department of Commerce as well as testimony on domestic industry, bond and remedies before the
International Trade Commission.

Mr. Malackowski has substantial experience as a Board Director for leading technology corporations and
research organizations as well as companies with critical brand management issues. He is Past President of
The Licensing Executives Society International, Inc. as well as its largest chapter, LES USA & Canada,
Inc. Mr. Malackowski focuses his non-for-profit efforts with organizations leveraging science and
innovation for the benefit of children, including those located in lesser developed countries. He has served
since 2002 as a Trustee or Director of the National Inventors Hall of Fame, Inc., an organization providing
summer enrichment programs for more than 100,000 students annually. For more than ten years Mr.


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Malackowski served as a Director of Chicago’s Stanley Manne Children’s Research Institute, advancing
the organization’s agenda to measure and report the impact of its pediatric research.

Mr. Malackowski is a frequent speaker on emerging technology markets and related financial measures.
He has addressed mass media audiences including Bloomberg Morning Call, Bloomberg Evening Market
Pulse, Bloomberg Final Word, CNBC Closing Bell, CNBC On the Money, CNBC Street Signs, CNBC
World Wide Exchange, CBS News Radio and Fox Business National Television as well as other
recognized news-based internet video channels. Mr. Malackowski is a current or past judge for the Illinois
Technology Association’s CityLIGHTS™ Innovation Awards program, the University of Notre Dame
McCloskey Venture Competition, 1st Source Faculty Commercialization Awards, and PBS’s Everyday
Edisons.

As an inventor, Mr. Malackowski has more than twenty issued U.S. patents. He is a frequent instructor for
graduate studies on IP management and markets and a Summa Cum Laude graduate of the University of
Notre Dame majoring in accountancy and philosophy. Mr. Malackowski is Certified/Accredited in
Financial Forensics, Business Valuation and Blockchain Fundamentals. He is a Certified Licensing
Professional and a Registered Certified Public Accountant in the State of Illinois. Mr. Malackowski has
been certified to receive United States Sensitive Security Information (SSI) as governed by Title 49 Code
of Federal Regulations.



EMPLOYMENT                Co-Founder and Chief Executive Officer, Ocean Tomo, LLC, July 1,
HISTORY                   2003 to present. Mr. Malackowski is responsible for all aspects of the firm’s
                          merchant banking practice. Mr. Malackowski was the Chairman and majority
                          owner of Ocean Tomo, LLC until its sale to Bow River Capital in April of 2020.

                          President and Chief Executive Officer, IP Equity Management, LLC, doing
                          business as Duff & Phelps Capital Partners, March 1, 2002 to June 30, 2003.
                          The firm’s intellectual property structured finance efforts were consolidated
                          with Ocean Tomo on July 1, 2003.

                          Principal and Founder, VIGIC Services, LLC, July 1, 2000 to February 28, 2002.
                          Mr. Malackowski identified and evaluated intellectual capital based private
                          equity investment opportunities and served as an advisor to four completed
                          transactions.

                          Principal and co-Founder, IPC Group LLC, August 1, 1988 – June 30, 2000.
                          Mr. Malackowski also held the offices of President and CEO and was a Board
                          member / chairman of the firm. Along with four co-founders, Mr. Malackowski
                          grew IPC Group to become the largest professional services firm specializing in
                          intellectual property valuation and strategy consulting. IPC Group was sold in
                          1999 later changing its name to InteCap.

                          Executive Consultant, Peterson & Co. Consulting, Chicago, June 3, 1985 –
                          July 30, 1988. Mr. Malackowski began with Peterson as a Staff Consultant and
                          was the firm’s quickest promotion to both Senior Consultant and Executive
                          Consultant. Mr. Malackowski helped to establish the firm’s intellectual property
                          litigation and valuation practice. Peterson & Co. was sold to Saatchi & Saatchi
                          PLC in 1988.



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NON-PROFIT AND   Mr. Malackowski has been active in The Licensing Executives Society (LES)
ASSOCIATION      locally, nationally and internationally. LES is the premiere global professional
EXPERIENCE       association of technology transfer and intellectual asset management
                 professionals with more than 9,000 members in more than 32 countries.

                 Mr. Malackowski is Past President of the Licensing Executives Society
                 International, LLC, where his experience included the following positions:

                 •   Director, LES Standards Development Organization (2018 – present)
                 •   Chair, Past President’s Council (2012 – 2013)
                 •   President and Member of the Board (2011 - 2012)
                 •   President Elect and Member of the Board (2010 - 2011)
                 •   Secretary and Member of the Board (2007 - 2010)
                 •   Member and Permanent Alternate, Board of Delegates (1992 - 2005)
                 •   Past Chair, Membership, Investment, Education, Long-range Planning and
                     Global Technology Impact Forum Committees.

                 Mr. Malackowski's term as President of LESI has been recognized for creation
                 of the LESI Global Technology Impact Forum and concurrent Invent For
                 Humanity™ Technology Transfer Exchange Fair; formalizing the National
                 Presidents' Council; establishing the position of a permanent Executive Director;
                 and, restructuring the leadership of LESI committees utilizing a Chair, Past
                 Chair, Chair Elect ladder combined with functional responsibilities for
                 committee Vice Chairs. This later organizational stamp is based largely on Mr.
                 Malackowski's experience as President of LES USA & Canada described below
                 where he led a restructuring of the Board from a regional to a functional
                 focus for each officer and Trustee. As with his tenure at his national Society
                 discussed below, Mr. Malackowski led a financial turn-around returning LESI to
                 positive cash flow following its’ only two years of loss.

                 Mr. Malackowski is also Past President of The Licensing Executives Society
                 (USA and Canada), Inc. where he held numerous offices in the organization
                 including:

                 •   President and Member of the Board (2001 – 2002)
                 •   International Vice President and Member of the Board (2000)
                 •   Treasurer and Member of the Board (1996 -- 1999)
                 •   Trustee and Member of the Board (1992 – 1996)
                 •   Chair, Annual Meeting in Miami Beach (1998) and the Summer Meeting in
                     Chicago (1997)

                 Mr. Malackowski presided over a restructuring of the LES USA & Canada
                 Board and a financial turn-around returning the organization to positive cash
                 flow following its only two years of loss to such date. Mr. Malackowski is the
                 youngest President to hold office at LES USA & Canada as well as at LES
                 International.

                 In 2007, Mr. Malackowski was the Founding Chair of the Board of Governors
                 for what is now Certified Licensing Professionals, Inc., administrator of the
                 Certified Licensing Professional (CLP) program for professionals in the fields of

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               licensing, business development and commercialization of intellectual
               property. More than 1,000 individuals involved in patenting, marketing,
               valuation, IP law, negotiation, and intellectual asset management have earned
               the CLP certification. CLP, Inc. is a 501(c)(6) organization whose mission is to
               elevate the licensing profession through knowledge and standards.

               In 2018 Mr. Malackowski joined the Standards Development Organization
               Board of LES USA & Canada. LES standards are voluntary consensus-based
               professional practices that are guided in their development by the "American
               National Standards Institute's (ANSI's) Essential Requirements." ANSI is the
               unique accrediting agency in the United States for voluntary consensus
               standards development organizations. LES is an accredited ANSI Standards
               Developer and as such guarantees its constituents that its standards will be
               developed in a fair, balanced, consensus-based, due process driven way. LES
               standards are designed to encourage and teach consensus practices in many of
               the business process aspects of intellectual capital management and, where
               appropriate, offer enterprises the opportunity to differentiate themselves based
               on their use of these consensus professional practices, through certification of
               conformance to those standards.
               Mr. Malackowski extends significant time to non-profit activities directed
               towards a further understanding of the economic importance of innovation and
               intellectual property, in both the United States and developing economies.
               These efforts include:

               •   Founding Board Member and member of the Executive Committee, United
                   Stages Intellectual Property Alliance (USIPA), (2020 -)
               •   Judge, University of Notre Dame McCloskey Venture Competition (2019 -)
               •   Advisory Council, University of Chicago, Pritzker School of Molecular
                   Engineering (2018 -)
               •   Judge, Illinois Technology Association, CityLIGHTS™ Innovation Awards
                   (2013 -)
               •   Member, World Economic Forum Network of Global Agenda Councils
                   (2011 - 2012)
               •   Director, International Intellectual Property Institute, Washington D.C.,
                   (2002 - 2007)
               •   Resident Advisor, U.S. Information Agency, (1999)
               •   Resident Advisor, U.S. Department of Commerce Commercial Law and
                   Development Program (1997)
               •   Founder and Chairman, The Center for Applied Innovation, Inc. (2004 -)

               In addition to his University instruction described herein, Mr. Malackowski
               focuses his non-for-profit efforts with those organizations leveraging science
               and innovation for the benefit of children.

               •   Director, Children’s Research Fund (2013); Co-Chair Annual Fund
                   Campaign (2013)
               •   Director, National Inventors Hall of Fame, Inc. (NIHF) including service as
                   a Member, Trustee or Director of related subsidiaries and Board
                   Committees (2001 - 2019). The NIHF provides summer enrichment
                   programs for more than 160,000 students annually including Camp


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                    Invention™ for kids in grades 1-6 (and their parents and teachers);
                    Collegiate Inventors Competition™ for college students (and their
                    mentors); and, Club Invention™ for kids in grades 1-6 (and their parents
                    and teachers). NIHF provides more than 20,000 camp scholarships
                    annually for children in financial need.
                •   President’s Council, Chicago Museum of Science and Industry (2005 -
                    2011) including participation on the Education Advisory Committee (2007 -
                    2009) and the Alternative Revenue Committee (2008 - 2011)
                •   Director, Stanley Manne Children’s Research Institute (2009 - 2020)
                    including Chair of the Board’s Technology Transfer Committee (2014 -
                    2020) and the Strategic Planning Resources Committee (2011 - 2012). Mr.
                    Malackowski is recognized for initiating the development of a program to
                    measure and track innovation metrics relevant to the Institute.

                Mr. Malackowski was the Founder of the Center for Applied Innovation, a
                Chicago based non-for-profit with both local and international programs. CAI
                was created to manage education, public policy outreach and related economic
                activity around applied technology and intellectual property (IP) rights in the
                State of Illinois and around the world.

                •   CAI created and patented the first commoditized contract for technology
                    licensing, the Unit License Right™. This innovation has been licensed to
                    the Chicago-based Intellectual Property Exchange International.
                •   Under Mr. Malackowski’s continued leadership as Chairman, CAI
                    organizes the Invent for Humanity™ Technology Transfer Exchange Fair
                    (InventforHumanity.org) launched in January, 2012, in Geneva,
                    Switzerland. Invent for Humanity showcases field-ready, sustainable
                    innovations, known as “appropriate technologies”, leveraging the
                    experience of licensing professionals to match and structure the actual
                    transfer of such technology to meet recognized needs of emerging market
                    economies.

                Mr. Malackowski’s association and non-profit activities are informed in part by
                his participation in the Harvard Business School Executive Education Program
                on Governing for Nonprofit Excellence, November 2000. Mr. Malackowski’s
                Board service is informed by his participation at the Rock Center Corporate
                Governance Directors College for Venture-Backed Company Directors,
                Stanford University, March 2016.



RELATED         Berg, LLC, Member, Council of Advisors, Senior Advisor, Intellectual Property
OFFICES         Licensing & Innovation (2012 - 2015)

                The Copyright Hub, LLC d/b/a 3Discovered, Founder. The company was
                formed as a collaborative venture between Ocean Tomo, LLC and Liberty
                Advisor Group in 2013. 3Discovered is a current portfolio company of US-
                based venture capital firm AITV. Mr. Malackowski served as Chairman of the
                company through September 2016. (2103 – 2106)

                Curious Networks, Inc., Director, (1999 - 2000), Co-Chair of the Board’s
                Strategic Partnership Committee. Mr. Malackowski led the company’s first and

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                second round of venture funding.

                ewireless, Inc. (f/k/a JEMAN Holdings, Inc. d/b/a Cellular Linking), Director,
                (1995-1999, 2000-2002)

                Ford Global Technologies, Inc., Ford Motor Company, Director (1997 - 2001).
                Mr. Malackowski advised Ford Motor Company on the original business
                strategy which led to the formation of FGTI. FGTI was the largest known
                technology management company in the United States during Mr.
                Malackowski’s term.

                Infocast, Corporation (OTC BB: IFCC.OB), Director (2001-2002). Member of
                the Audit and Compensation Committees. Mr. Malackowski led the transition
                of the company’s senior management team and continued U.S. based funding
                efforts.

                Insignis, Inc., Director (2000 - 2002) Mr. Malackowski led the company’s first
                round of venture funding. Insignis is a Chicago based provider of institutional
                financial data services.

                The Intellectual Property Coin Group, Inc., Chairman and Co-Founder (2018 -).
                The company is a planned Ethereum based blockchain platform and related
                cryptocurrency designed to facilitate IP based transactions. See
                www.IPcoinGroup.com.

                The Intellectual Property Exchange International, Inc. Mr. Malackowski was
                the founder of the company guiding initial product development of IPXI and
                recruitment of executive management. In 2011, IPXI was funded by an industry
                consortium including the Chicago Board Options Exchange. Mr. Malackowski
                was the Chair or Co-Chair of the Exchange from inception to February 26, 2015.

                JEMAN Technologies, Inc., Founder. (1995 – 1999). Mr. Malackowski led the
                company’s efforts to develop new technologies related to wireless direct
                response services. JEMAN was sold to ewireless, Inc. in 1999 as part of a
                venture transaction funded by Bedrock Capital Partners and Tredegar
                Investments.

                Solutionary, Inc., Director (2000 - 2013). Arranged and advised on
                Solutionary’s asset acquisition of S3Networks effective August 31, 2001 and
                sale to strategic buyer in 2013. Member of the Board’s Compensation
                Committee.

                Sendle, Pty, Advisor (2012 - 2015). See www.Sendle.com.




EDUCATION AND   University of Notre Dame, B.B.A., Bachelor of Business Administration with
CERTIFICATION   majors in Accountancy and Philosophy. Graduated Summa Cum Laude, 1985.




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                Registered Certified Public Accountant, State of Illinois Certificate Number
                41,187 issued January 16, 1986; License No. 239.007831; Expires September
                30, 2021.

                Certified Licensing Professional, Certificate Number 1606 issued July 1, 2008;
                Expires June 30, 2021.

                Certified in Financial Forensics, CFF™, American Institute of Certified Public
                Accountants, Certificate Number 391 issued July 31, 2008; Expires July 31,
                2021.

                Accredited in Business Valuation, ABV™, American Institute of Certified
                Public Accountants, Certificate Number 4278 issued May 31, 2014; Expires July
                31, 2021.

                Accredited in Blockchain Fundamentals for Accounting and Finance
                Professionals, American Institute of Certified Public Accountants, Certificate
                Number 15860970 issued December 17, 2018; Expires December 31, 2020.



UNIVERSITY      John Marshall Law School, Intellectual Property Damages (1992 - 1994)
INSTRUCTION
                DePaul University, Intellectual Property Entrepreneurial Finance (2003)

                The George Washington University Law School, Intellectual Property
                Management (2004)

                The University of Chicago Graduate School of Business:

                •   Intellectual Property Investment (2004 - 2006)
                •   Entrepreneurial Discovery, MBA Course 34705, Adjunct Professors Mark
                    Tebbe and Brian Coe (Fall 2014 - 2015)

                Indiana University Kelly School of Business, Intellectual Property Finance
                (2005)

                University of Notre Dame, Mendoza College of Business, Adjunct Instructor:

                •   MBA Interterm Intensives, Intellectual Property Based Market
                    Transactions, Valuation and Trading (Fall 2006, Fall 2008)
                •   MBA Executive Program, Course MBAE 70639, Intellectual Property,
                    (Spring Semester 2008)
                •   MBA Program, Litigation Support and Valuation (Spring 2009)
                •   Notre Dame Law School, Advanced Trial Advocacy, LAW 75713-10
                    (Spring 2017)
                •   Member, Venture Builder Community Advisory Board (2019 - )

                University of California at Berkeley Haas School of Business, Innovation
                Markets (2008)



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                Chicago-Kent College of Law, Adjunct Professor of Law, IP Financial Markets
                and Legal Principles (Fall 2008)

                Rutgers Professional Science Master’s Program, Fundamentals of Intellectual
                Property (Summer 2011)

                Northwestern University Kellogg School of Management, Adjunct Instructor:

                •    MGMT 441, Intellectual Property Management, Clinical Professor James
                     G. Conley (Fall 2012, Spring 2013 - 2017)
                •    DSGN 460, Innovation in Context, McCormick Engineering School
                     (Spring 2017)

                University of Texas McCombs School of Business, MBA Course: Open
                Innovation, Professor Sirkka Jarvenpaa (Spring 2013)

                University of Arizona, James E. Rogers College of Law, Advisor, Intellectual
                Property & Entrepreneurship Clinic (2017 - )

                •    IP Valuation (Spring 2017)
                •    IP Valuation for Commercial Transactions (Spring 2019)

                University of Southern California, Lloyd Greif Center for Entrepreneurial
                Studies at the Marshall School of Business, Entrepreneurs Guide to Intellectual
                Property, Professor Luke L. Dauchot, JFF 322 (Fall 2017)



MEMBERSHIPS     American Institute of Certified Public Accountants, Member 01182237 (1985 -)
                The Economic Club of Chicago (1990 - 2019)
                The Licensing Executives Society (1988 - )
                Young Presidents’ Organization (“YPO” / “YPO Gold” Chicago Chapter, 2006
                – 2017) (Mid-America U.S. At Large Chapter, 2019 - )


RECOGNITION     Individually, Mr. Malackowski has been recognized for his expertise as well as
AND AWARDS      his work in developing markets for intellectual property transfer including:

                •   EY Entrepreneur Of The Year®, Regional Semifinalist (2019 and 2020)
                •   “IAM Global Leaders”, IAM Magazine (2020)
                •   “IAM Patent 1000: The World’s Leading Patent Professionals”, IAM
                    Magazine (2015-2019)
                •   Named to the National Law Journal’s inaugural list of 50 Intellectual
                    Property Trailblazers & Pioneers. (August 2014)
                •   Named as 1 of 60 leading global Economics Expert Witnesses in the IAM
                    Patent 1000, IAM Magazine. Selection based on interviews by IAM
                    researchers with more than 100 patent litigators. (May 2014)
                •   Inductee, Chicago Area Entrepreneurship Hall of Fame as selected by the
                    Institute for Entrepreneurial Studies at the University of Illinois at Chicago
                    College of Business Administration, (2013; 28 th Year of Program)



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                •   Named as 1 of 50 Individuals, Companies and Institutions that Framed the
                    First 50 Issues of IAM Magazine, November / December 2011.
                •   “IP Personalities of 2008”, IAM blog by Joff Wild, Editor
                •   “IAM Strategy 300: The World’s Leading IP Strategists”, IAM Magazine
                    (2012-2019); formally presented and included as “World’s 250 Leading IP
                    Strategists”, IAM Magazine (2009-2011)
                •   “50 Under 45”, IP Law & Business™ (2008)
                •   “The Most Influential People in IP”, Managing Intellectual Property™
                    (2007)
                •   Member, IP Hall of Fame Academy (2007- )

                Ocean Tomo as a firm has been likewise recognized for its accomplishments
                including:

                •   Ocean Tomo was chosen as the exclusive U.S. representative for the 2016
                    Healthcare & Pharma Leading Expert Awards by Global Health & Pharma
                    Magazine.
                •   Ocean Tomo was recognized as a member of the 2015 Inc.5000® list of
                    fastest-growing private companies in America.
                •   Ocean Tomo was honored in 2011 with the “Best of Chicago Award in
                    Investment Advisory Services” by the U.S. Commerce Association
                    (USCA).
                •   In addition to Mr. Malackowski, Ocean Tomo as a firm was named as 1 of
                    50 Individuals, Companies and Institutions that Framed the First 50 Issues
                    of IAM Magazine, November / December 2011 and the only firm other than
                    Microsoft (2 of 50 mentions) to be recognized multiple times (5 of 50
                    mentions).
                •   The firm’s Chicago office was presented the 2011 Alfred P. Sloan Awards
                    for Business Excellence in Workplace Flexibility after having been finalist
                    for scoring in the top 20% of all firm’s measured nationally.
                •   Ocean Tomo was recognized in 2010 by Corporate Voices for Working
                    Families for its work-life balance as part of the National Workplace
                    Flexibility Campaign published by USA Today.
                •   Ocean Tomo was recognized as a juried Finalist for the Illinois Technology
                    Association 2010 CityLIGHTS Award for raising the stature of the Illinois
                    technology industry.
                •   Selected as case study organization for Haas School of Business, University
                    of California, Berkeley (2009)
                •   Selected as case study organization for Harvard Business School MBA
                    Program (2008)
                •   Ocean Tomo was named one of 20 small and mid-sized firms recognized as
                    the “Best Places to Work in Illinois” by Best Companies Group in a
                    competition sponsored by the Illinois Chamber of Commerce and the
                    Illinois State Council Society for Human Resource (2007)
                •   Ocean Tomo Auctions received the 2006 Chicago Innovation Award for
                    most innovative new product or service introduced between January 1,
                    2005, and July 31, 2006, that uniquely satisfied unmet needs in the
                    marketplace. The award was presented by Kuczmarski & Associates and the
                    Chicago Sun-Times.



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                 •   Ocean Tomo Auctions was awarded the Department of Commerce
                     Technology Administration & National Knowledge & Intellectual Property
                     Management 2006 Innovator of the Year Award.
                 •   Ocean Tomo was recognized as a “Top Ten IP Newsmakers of 2006” by IP
                     Law & Business, Almanac 2006.

                 Numerous authors and graduate business programs have written case studies
                 about Ocean Tomo and its affiliates including:

                     •   Piscione, Deborah Perry, The Risk Factor, Copyright 2014.
                     •   Houle, David, Entering the Shift Age, Copyright 2013.
                     •   Kuczmarski, Thomas D., Dan Miller and Luke Tanen, Innovating
                         Chicago-Style: How Local Innovators Are Building The National
                         Economy, Copyright 2012.
                     •   Houle, David, The Shift Age, Copyright 2007.
                     •   Chesbrough, Henry, Open Business Models: How to Thrive in the New
                         Innovation Landscape, Copyright 2006.
                     •   Harvard Business School Case Study
                     •   University of California Business School Case Study




RELATED U.S.     “The Determination of a Reasonable Royalty: Hypothetical Negotiation v.
SPEECHES AND     A General License Agreement”, The Licensing Executives Society, Chicago
PUBLICATIONS     Chapter, December 8, 1987.

                 “The Business Economics of Technology Development”, The Licensing
                 Executives Society, New England Chapter, February 9, 1988.

                 “The Importance of Protecting Intellectual Property Through Corporate
                 Transition”, Licensing Executives Society, National Meeting, October 18, 1989,
                 Moderator.

                 “Valuation of Intellectual Property Rights”, The Chicago Bar Association,
                 March 6, 1990.

                 “Dispute Resolution -- There Are Alternatives!”, Licensing Executives Society,
                 National Meeting, October 22, 1990.

                 “How to Value a License”, Adding to the Bottomline Through Licensing, LES /
                 John Marshall Law School, November 1, 1990.

                 “An Advanced Discussion on Licensing and Patent Damages”, Licensing
                 Executives Society, National Meeting, October 28, 1992.

                 “An Advanced Discussion on Patent Damages”, Licensing Executives Society,
                 National Meeting, October 18, 1993.

                 Royalty Provisions in Technology License Agreements, Technology Transfers,
                 American Conference Institute, November 15 & 16, 1993.


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                “Commercializing Technology and the Intellectual Property Quality
                Management Imperative”, Technology Transfer, American Conference Institute,
                June 20 & 21, 1994.

                “How to Accurately Value Software”, The Software Protection and Litigation
                Institute, July 28 & 29, 1994.

                “IP Damages Advanced Case Studies”, Licensing Executives Society, National
                Meeting, October 19, 1994.

                “Preparation and Presentation of Damages by Outside Consultants”, AIPLA
                Mid-Winter Meeting, February 1, 1995

                “Damages Discovery - An Expert's Perspective”, Intellectual Property Law
                Association, New York, December 15, 1995.

                “Pre-Litigation Damages Techniques: Patents and More”, The Intellectual
                Property Strategist, March, 1996.

                “Corporate Exposures to Copyright, Patent, Trademark, and Trade Secret
                Claims”, Digital Bullets - Digital Shields: A Financial Perspective, American
                Conference Institute, New York, March 5, 1996.

                “IP Management and Taxation - How companies are proactively managing IP
                assets to maximize shareholder value, including measuring contribution of IP
                protection to corporate value”, American Bar Association, Virginia, April 11,
                1996.

                “Effectively Select & Use Experts in Trademark & Copyright Cases”, AIPLA
                Spring Meeting, Boston, May 1, 1996.

                “The Industry-University Interface: Mechanisms For Technology Transfer”,
                1996 AUTM Central Region / Licensing Executives Society Chicago Chapter,
                Chicago, July 21, 1996.

                “Valuing Health Care Technologies”, Licensing Executives Society Winter
                Meeting, South Carolina, March 13, 1997.

                “Creative Marketing & Packaging - How to Differentiate Yourself in a
                Competitive Market”, CTIA Annual Meeting, Atlanta, February 23, 1998.

                “Intellectual Property Valuation: The Latest Techniques from Boardroom and
                Courtroom”, Patent Law Association of South Florida Annual Meeting, Fort
                Lauderdale, October 22, 1998.

                “The Aftermath of Rite-Hite v. Kelly”, 16th Judicial Conference of the U.S.
                Court of Appeals for the Federal Circuit, Washington D.C., April 6, 1999.

                “Expert Admissibility After Daubert”, Wisconsin Academy of Trial Lawyers,
                Milwaukee, December 3, 1999.


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                “Intellectual Property Strategic Planning: a Corporate Perspective”, Research
                Directors Association of Chicago, Winter Meeting, January 10, 2000.

                “Intellectual Property Asset Management: Linking IP and Corporate Strategy”,
                44th Annual Conference on Developments in Intellectual Property Law, John
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                Services, Inc.
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                Hoechst Celanese Corporation v. Chase Plastic Services and Kevin P. Chase
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                ICON Health & Fitness, Inc. v. Peloton Interactive, Inc.
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                Illumina, Inc. et. al v. Ariosa Diagnostics, Inc.
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                Immunocept, LLC, Patrice Anne Lee, and James Reese Matson v. Fullbright &
                Jaworski, LLP
                Cause No. A 05 CA 334 SS
                United States District Court of Texas, Austin Division
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                In Re Gabapentin Patent Litigation
                MDL Docket No. 1384 (FSH)
                Master Civil Action No. 00-2931 (FSH)
                On behalf of Defendants Teva Pharmaceutical Industries Ltd. and IVAX
                Corporation and related parties
                United States District Court for the District of New Jersey
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                In Re Nortel Networks Inc. et al. and
                In the Matter of the Companies’ Creditors Arrangement Act
                Case No. 09-10138 (KG) and R.S.C. 1985, c. C-36
                United States Bankruptcy Court for the District of Delaware and the Ontario
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                In the Matter of Arbitration Between Open Text, Inc., Claimant, and State
                Employee’s Credit Union, Respondent
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                In the Matter of Certain Botulinum Toxin Products, Processes for
                Manufacturing or Relating to Same and Certain Products Containing Same
                Investigation No. 337-TA-1145
                On behalf of Allergan plc, Allergan, Inc. and Medytox Inc.
                United States International Trade Commission
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                In the Matter of Certain Electronic Devices with Graphics Data Processing
                Systems, Components Thereof, and Associated Software
                Investigation No. 337-TA-813
                On behalf of Respondent Apple Inc.
                United States International Trade Commission
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                In the Matter of Certain Pre-Filled Syringes for Intravitreal Injection and
                Components Thereof
                Investigation No. 337-TA-1207
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                In the Matter of Certain Semiconductor Chips with Minimized Chip Package
                Size and Products Containing Same (III)
                Investigation No. 337-TA-630
                On behalf of Respondents Acer, Nanya and Powerchip
                United States International Trade Commission
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                In the Matter of Certain Short-Wavelength Light Emitting Diodes, Laser Diodes,
                and Products Containing Same
                Investigation No. 337-TA-640
                On behalf of Respondent Panasonic
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                In the Matter of Certain Wearable Activity Tracking Devices, Systems and
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                Packard Company et. al
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                Innovention Toys, LLC v. MGA Entertainment, Inc., Wal-Mart Stores, Inc. and
                Toys ‘R Us, Inc.
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                InterDigital Technology Corporation v. Motorola, Inc.
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                International Business Machines Corporation v. Groupon, Inc.
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                Partners, et. al
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                Jamdat Mobile, Inc. v. JAMSTER International Sarl, Ltd; JAMBA! GMBH; and
                Verisign, Inc.
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                Jenner & Block LLP v. Parallel Networks, LLC and EpicRealm Licensing LP
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                John W. Evans, et al. v. General Motors Corporation
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                Joy Recovery Technology Corp. v. The Penn Central Corp. and Carol Cable
                Company, Inc., aka General Cable Industries, Inc.
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                K-Tube Corp. v. Sterling Stainless Tube Corp. et al.
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                Kay-Cee Enterprises, Inc. v. Amoco Oil Company
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                Keurig, Inc. v. Kraft Foods Global, Inc., Tassimo Corp., and Kraft Foods Inc.
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                Kinetic Concepts, Inc., KCI Licensing, Inc., KCI USA, Inc. and Wake Forest
                University Health Services v. Bluesky Medical Group, Inc., Richard Weston,
                Medela AG, Medela, Inc., and Patient Care Systems, Inc.
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                United States District Court Western District of Texas San Antonio Division
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                Kinetic Concepts, Inc., KCI Licensing, Inc., KCI USA, Inc. and Wake Forest
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                Nephew, Inc.
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                Resources, Medical Holdings Limited, KCI Manufacturing and Wake Forest
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                and Boehringer Technologies, LP
                Civil Action No. 1:08-CV-00918-WO-LPA
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                Kruse Technology Partnership v. Caterpillar, Inc.
                Case No. CV 04-10435
                United States District Court for the Central District of California
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                Kuryakan Holdings LLC v. Ciro, LLC et al
                Civ. No. 3:15-CV-00703
                United States District Court for the Western District of Wisconsin
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                Leo Pharma A/S v. Tolmar, Inc. et al.
                United States District Court for District of Delaware
                C.A. No. 10-269 (SLR)
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                Lincoln Electric Company, et al. v. National Standard, LLC
                No. 1:09-cv-01886-DCN
                United States District Court of Ohio Eastern Division
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                LNP Engineering Plastics, Inc. and Kawasaki Chemical Holding Co., Inc. v.
                Miller Waste Mills, Inc. trading as RTP Company
                Civil Action No. 96-462 (RRM)
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                Lotes Co. Ltd. v. Hon Hai Precision Industry Co. Ltd and Foxconn Electronics,
                Inc.
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                United States District Court for the Northern District of California San
                Francisco Division
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                Lucent Technologies Inc. v. Extreme Networks, Inc.
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                United States District Court for the District of Delaware
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                Lunar Corp. & The UAB Research Foundation v. EG&G Astrophysics Research
                Corp.
                Civil Action No. 96-C-199-S
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                Match Group, LLC v. Bumble Trading Inc. et al.
                Civil Action 6:18-cv-00080
                United States District Court for the Western District of Texas Waco Division
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                Matsushita Electric Industrial Co., Ltd. v. MediaTek, Inc., Oppo Digital., and
                Micro-Star International Computer Corp.
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                Francisco Division
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                McKinley v. Zdeb
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                Medgraph, Inc. v. Medtronic, Inc.
                Case No. 6:09-cv-06610-DGL-MWP
                United States District Court for the Western District of New York
                Rochester Division
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                Medtronic Xomed, Inc. v. Gryus ENT LLC
                Case No.: 3:04CV400-J-32 MCR
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                Jacksonville Division
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                MEI, Inc. v. JCM American Corp & Japan Cash Machine Co. Ltd.
                United States District Court for the District of New Jersey
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                Message Phone, Inc. v. SVI Systems, Inc. and Tharaldson Properties
                Civil Action No. 379CV-1813H
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                MGA Entertainment, Inc. and Isaac Larian v. Hartford Insurance Company of
                the Midwest, Harford Fire Insurance Company, The Hartford Financial Services
                Group and Does 1 through 10.
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                Military Professional Services, Inc. v. BancOhio National Bank
                Civil Action No. 91-5032
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                Milwaukee Electric Tool Corporation, Metco Battery Technologies, LLC AC
                (Macao Commercial Offshore) Limited and Techtronic Industries Co. Ltd. v.
                Snap-On Incorporated
                Case No. 2:14-cv-01296
                United States District Court for the Eastern District of Wisconsin
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                Minebea Co., Ltd., Precision Motors Deutsche Minebea GmbH, and Nippon
                Miniature Bearing Corp. v. George Papst, Papst Licensing GmbH, and Papst
                Licensing Verwaltungsgesellschaft MIT Beschrankter Haftung
                Civil Action No. 97-CV-590 (PLF)
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                Mitek Surgical Products, Inc. v. Arthrex, Inc.
                Case No. 1:96CV 0087S
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                Mitsubishi Electric Corp., Koninklijke Philips N.V., Thomson Licensing, GE
                Technology Development, Inc. Panasonic Corporation and Sony Corporation v.
                Sceptre, Inc.
                Case No. 2:14-cv-04994-ODW-AJW
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                Money Suite Company v. Insurance Answer Center, LLC; Answer Financial,
                Inc.; AllState Insurance Company; Esurance Insurance Services, Inc.
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                Motorola, Inc. v. InterDigital Technology Corporation
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                Motorola Solutions, Inc. and Motorola Solutions Malaysia SDN, BHD v. Hytera
                Communications Corporation Ltd., Hytera America, Inc. and Hytera
                Communications America (West), Inc.
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                Motorsport Aftermarket Group, Inc. v. Thomas Ellsworth
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                Nellcor Puritan Bennett, LLC v. CAS Medical Systems, Inc.
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                Netlist, Inc. v. Diablo Technologies, Inc.
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                United States District Court for the Central District of California Oakland
                Division
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                Nomadix, Inc. v. Hewlett-Packard Company, et al.
                Civil Action No. CV09-08441 DDP(VBKx)
                United States District Court for the Central District of California Western
                Division
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                Nomix Corporation v. Quikrete Companies, Inc.
                Civil Action No. H88-463-AHN
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                Optical Air Data Systems, LLC v. L-3 Communications Corporation et al.
                Civil Action No. N17C-05-619
                Superior Court of the State of Delware
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                Oracle America, Inc. v. Google, Inc.
                Case No. 3:10-CV-03561-WHA
                United States District Court for the Northern District of California San
                Francisco Division
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                Orthofix, Inc., et al v. EBI Medical Systems, Inc., et al.
                Civil Action No. 95-6035 (SMO)
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                Picker International, Inc. v. Mayo Foundation, et al.
                Case No. 95-CV-2028
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                Penda Corporation v. United States of America and Cadillac Products, Inc.
                Case No. 473-89-C
                United States Court of Federal Claims
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                Peter Daou and James Boyce v. Arianna Huffington, Kenneth Lerer and
                TheHuffingtonPost.com, Inc.
                Index No. 651997/2010
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                Plexxikon Inc. v. Novartis Pharmaceuticals Corporation
                Case No. 4:17-cv-04405-HSG
                United States District Court for the Northern District of California Oakland
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                Power Integrations, Inc. v. Fairchild Semiconductor International, Inc., Fairchild
                Semiconductor Corporation and System General Corporation
                Case No. 3:09-cv-05235-MMC
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                Powertech Technology, Inc. v. Tessera, Inc.
                Case No. CV10-00945EMC
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                Praxair, Inc. and Praxair Technology, Inc. v. ATMI, Inc. and Advanced
                Technology Materials, Inc.
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                Prism Technologies, LLC v. AT&T Mobility, LLC
                Civil Action No. 8:12-cv-122-LES-TDT
                United States District Court of Nebraska
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                Prism Technologies, LLC v. T-Mobile USA, Inc.
                Civil Action No. 8:12-cv-00124
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                Prism Technologies, LLC v. Sprint Spectrum L.P. d/b/a/ Sprint PCS
                Civil Action No. 8:12-cv-123-LES-TDT
                United States District Court of Nebraska
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                The Procter & Gamble Company v. Paragon Trade Brands, Inc.
                Civil Action No. 94-16-LON
                United States District Court for the District of Delaware
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                QR Spex, Inc. and Thomas G. Swab v. Motorola, Inc. and Frog Design, Inc.
                Civil Action No 03-6284 JFW (FMOx)
                United States District Court for the Central District of California
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                Qualcomm, Inc. v. InterDigital Communications Corporation
                Case No. 93-1091G (LSP)
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                Quickie, LLC v. Medtronic, Inc.
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                Radware, LTD, and Radware, Inc. v. F5 Networks, Inc.
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                Remcor v. Scotsman/Booth
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                United States District Court for the Northern District of Illinois, Eastern
                Division
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                Remcor v. Servend
                Civil Action No. 93 C 1823
                United States District Court for the Northern District of Illinois, Eastern
                Division
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                Rensselaer Polytechnic Institute and Dynamic Advances, LLC v. Apple Inc.
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                Research Corporation Technologies, Inc. v. Hewlett-Packard Company
                Civil Action No. CIV 95-490-TUC-JMR
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                Robert E. Morley, Jr. and REM Holdings 3, LLC v. Square, Inc., Jack Dorsey
                and James McKelvey, Jr.
                No. 4:14-cv-00172-CDP
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                Rommy Hunt Revson v. The Limited, Inc. et al.
                Civil Action No. 90-3840 (MGC)
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                Ronald A. Katz Technology Licensing, LP v. Ameren Corporation; Union
                Electric Company; Central Illinois Public Service Company; Cilcorp, Inc.;
                Central Illinois Light Company
                Case No. 07-4955 RGK (FFMx)
                United States District Court for the Central District of California
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                Ronald A. Katz Technology Licensing, LP v. AOL, LLC, CompuServe
                Interactive Services and Netscape Communications Corporation
                CV 07-2134 RGK (FFMx)
                United States District Court for the Central District of California
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                Ronald A. Katz Technology Licensing, LP v. Cablevision Systems Corporation
                et. al.
                Case No. 2:07-ML-01816 / 02314 RGK-FFM
                United States District Court for the Central District of California
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                Ronald A. Katz Technology Licensing, LP v. Charter Communications, Inc.;
                Charter Communications Holding Company, LLC; Charter Communications
                Operating, LLC; and Charter Communications Entertainment I, LLC
                CV 07-2134 RGK (FFMx)
                United States District Court for the Central District of California
                Deposition Testimony

                Ronald A. Katz Technology Licensing, LP v. CIGNA Corporation, CIGNA
                Health Corporation, CIGNA HealthCare of Delaware, Inc., Tel-Drug of
                Pennsylvania, LLC and Tel-Drug, Inc.
                CV 07-2192 RGK (FFMx)
                United States District Court for the Central District of California
                Deposition Testimony

                Ronald A. Katz Technology Licensing, LP v. Comcast Corporation, Sirius-XM
                Radio, Inc., et al.
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                Ronald A. Katz Technology Licensing, LP v. DHL Holdings (USA) Inc., DHL
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                Ronald A. Katz Technology Licensing, LP v. Fifth Third Bankcorp, Fifth Third
                Bank, Fifth Third Bank (Central Ohio)
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                Ronald A. Katz Technology Licensing, LP v. Time Warner Cable Inc., Time
                Warner NY Cable LLC and Time Warner Entertainment Company, L.P.
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                Ronald A. Katz Technology Licensing, LP v. United States Cellular
                Corporation, TDS Telecommunications Corporation and TDS Metrocom, LLC
                Case No.07-ML-01816-B-RGK (FFMX)
                United States District Court for the Central District of California
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                Rosetta Stone Ltd. v. Google Inc.
                Civil Action No. 1:09 CV 736 GBL / JFA
                United States District Court for the Eastern District of Virginia
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                RWM Kinetic Enterprises, Inc. and Thomas J. Ring v. Kinetic Concepts, Inc.
                and KCI Therapeutic Services, Inc.
                Case No. SA-96-CA-603-OG
                United States District Court for the Western District of Texas San Antonio
                Division
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                Sanofi-Aventis U.S. LLC and Regeneron Pharmaceuticals, Inc. v. Genentech,
                Inc. and City of Hope
                Case No. 2:15-CV-05685
                United States District Court for the Central District of California Western
                Division
                Deposition Testimony

                Sanyo Electric Co., Ltd. v. Intel Corporation
                Civil Action No. 2018-0723-MTZ
                Court of Chancery of the State of Delaware
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                Saxon Innovations, LLC v. Nokia Corp, et al. (including Samsung Electronics,
                Co. and related parties)
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                SecurityPoint Holdings, Inc. v. The United States
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                Semiconductor Energy Laboratory Co., Ltd. v. Samsung Electronics Co., Ltd.,
                S-LCD Corporation, Samsung Electronics America, Inc. Samsung
                Telecommunications America, LLC
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                Selex Galileo, Inc. v. Nomir Medical Technologies, Inc.
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                Seven Networks, LLC v. Apple Inc.
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                Shuffle Tech International, LLC and Aces Up Gaming, Inc. and Poydras-Talrick
                Holdings, LLC v. Scientific Games Corporation and Bally Technologies, Inc.
                (d/b/a SHFL Entertainment or Shuffle Master) and Bally Gaming, Inc.
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                United States District Court for the Northern District of Illinois Eastern Division
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                Silicon Image, Inc. v. Analogix Semiconductor, Inc.
                Case No. C 07-00635 JCS
                United States District Court for the Northern District of California, San
                Francisco Division
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                Site Microsurgical Systems v. The Cooper Companies
                Civil Action S92-766
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                Slot Speaker Technologies, Inc. v. Apple Inc.
                Case No. 4:13-cv-01161-HSG
                United States District Court Northern District of California Oakland Division
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                SmartPhone Technologies, LLC v. Research In Motion Corp. et. al (on behalf
                LG Electronics, Inc. and LG Electronics USA, Inc.)
                Civil Action No. 6:10cv74-LED
                United States District Court Eastern District of Texas Tyler Division
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                St. Clair Intellectual Property Consultants v. Fuji Photo Film Co., Ltd., Fuji
                Photo Film U.S.A., Inc., Fujifilm America, Inc., et al.

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                C.A. No. 4:05CV44
                United States District Court of Texas Sherman Division
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                STMicroelectronics, Inc. v. SanDisk Corp.
                C.A. No. 4:05CV45
                United States District Court of Texas Sherman Division
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                Sunoco Partners Marketing & Terminals L.P. v. U.S. Venture, Inc., U.S. Oil,
                and Technics, Inc.
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                United States District Court for the Northern District of Illinois Eastern Division
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                Synopsys, Inc. v. Ubiquiti Networks, Inc. et al.
                Civil Action No. 3:17-cv-00561-WHO
                United States District Court for the Northern District of California
                Deposition Testimony

                Takata Corp. v. Allied Signal, Inc. and Breed Technologies, Inc.
                Civil Action CV-95-1750
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